               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,

              v.
                                                                    1:24CV710

 REALPAGE, INC.,

                     Defendant.


                                         ORDER

      Upon Defendant RealPage, Inc.’s (“RealPage”) Consent Motion to Extend Word

Limit for Motion to Dismiss Briefs, (ECF No. 34), and for good cause shown,

      IT IS ORDERED that:

      1.     The word limitation for RealPage’s brief in support of its motion to dismiss

shall be extended to 8,000 words;

      2.     The word limitation for Plaintiffs’ response to RealPage’s motion to dismiss

shall be extended to 8,000 words; and

      3.     The word limitation for RealPage’s reply in support of its motion to dismiss

shall be extended to 4,250 words.

      This, the 30th day of October 2024.


                                            /s/ Loretta C. Biggs
                                            United States District Judge




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